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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA :
                         :
    v.                   :                     CRIMINAL NO. 21-CR-563 (JDB)
                         :
                         :
VICTORIA CHARITY WHITE :


                  Notice of Intent to Introduce Expert Evidence

      COMES NOW Defendant Victoria Charity White, by and through her

counsel, and hereby files a notice of intent to introduce expert evidence relating to

use of force, security protocols and crowd control techniques used by law

enforcement, specifically The Metropolitan Police Department and The United

States Capitol Police, on January 6, 2021. This notice is filed pursuant to Fed.

Crim. P. 16(b)(1)(C). A curriculum vitae of the proposed expert was sent to the

government via email on February 24, 2023.

                                      Respectfully submitted,

                                          /s/ Nicole Cubbage
                                       Nicole Cubbage
                                       DC Bar No. 999203
                                       712 H. Street N.E., Unit 570
                                       Washington, D.C. 20002
                                       703-209-4546
                                       cubbagelaw@gmail.com
                                       Attorney for Victoria White



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                                Certificate of Service

I certify that a copy of the forgoing was filed electronically for all parties of record
                          on this 24th day of February, 2023.
                                  ____/s/__________
                                    Nicole Cubbage
                              Attorney for Victoria White




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